                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:                                                        Case No. 15-51057

STANLEY R. KOZLOWKI, III,                                     Chapter 13

                Debtor.                                       Judge Thomas J. Tucker
                                          /

MICHIGAN UNEMPLOYMENT INSURANCE
AGENCY,

                Plaintiff,                                    Adv. No. 15-5123

v.

STANLEY R. KOZLOWSKI, III,

                Defendant.

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              OPINION REGARDING DEFENDANT’S MOTION TO DISMISS

I. Introduction

         Defendant, Stanley R. Kozlowski, III, is a debtor in a Chapter 13 bankruptcy case who

allegedly owes a debt to the Plaintiff, the State of Michigan Unemployment Insurance Agency

(the “Agency”). The debt includes a statutory penalty for fraud. The alleged fraud was in

Defendant knowingly making false statements to the Agency in order to obtain unemployment

benefits for which he was not eligible.

         Plaintiff alleges that Defendant owes a total of $14,838.68 for unemployment benefit

overpayments, interest on the overpayments, and the statutory penalty. The Agency alleges that

the entire debt is nondischargeable in Defendant’s pending Chapter 13 bankruptcy case, under 11

U.S.C. § 523(a)(2)(A), as a debt for “false pretenses, a false representation, or actual fraud.”




     15-05123-tjt   Doc 23     Filed 03/25/16     Entered 03/25/16 16:29:58         Page 1 of 24
       Currently before the Court is Defendant’s motion to dismiss (Docket # 4, the “Motion”).

In the Motion, Defendant argues that § 523(a)(2)(A) does not apply to the statutory penalty

portion of the debt, because the penalty constitutes a noncompensatory debt payable to a

governmental unit that is covered by 11 U.S.C. § 523(a)(7). Defendant’s theory is that if the

penalty is covered by § 523(a)(7), it cannot also be covered by § 523(a)(2), even if the penalty is

based on fraud. This theory matters because in a chapter 13 case, § 523(a)(2) debts are excepted

from a discharge obtained under 11 U.S.C. § 1328(a), while § 523(a)(7) debts are not.

       Recently, in a case decided by Bankruptcy Judge Randon in this district, a Chapter 13

debtor prevailed on this theory. Mich. Unemployment Ins. Agency v. Andrews (In re Andrews),

No. 15-46058, Adv. Pro. No. 15-04724 (Docket # 11), 2015 WL 5813418 (Bankr. E.D. Mich.

Oct. 2, 2015). That case is presently on appeal to the district court.

       The Court held a hearing on Defendant’s Motion, and took it under advisement. For the

reasons stated below, the Court respectfully disagrees with the decision in Andrews, and rejects

Defendant’s argument.

II. Jurisdiction

       The Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a), and 157(b)(1), and Local Rule 83.50 (E.D. Mich.). This is a core proceeding

under 28 U.S.C. § 157(b)(2)(I), because it seeks a “determination[] as to the dischargeability of

particular debts.” This adversary proceeding also is a core proceeding because it falls within the

definition of a proceeding “arising under title 11,” and of a proceeding “arising in” a case under

title 11, within the meaning of 28 U.S.C. § 1334(b). Matters falling within either of these

categories are deemed to be core proceedings. See Allard v. Coenen (In re Trans-Indus., Inc.),


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  15-05123-tjt     Doc 23     Filed 03/25/16      Entered 03/25/16 16:29:58        Page 2 of 24
419 B.R. 21, 27 (Bankr. E.D. Mich. 2009) (citing Mich. Emp. Sec. Comm’n v. Wolverine Radio

Co., Inc., 930 F.2d 1132, 1144 (6th Cir. 1991)).

        This is a proceeding “arising under title 11,” because it is created or determined by

statutory provisions of title 11, including 11 U.S.C. § 523(a)(2)(A). This is a proceeding “arising

in” a case under title 11, because it is a proceeding that “by [its] very nature, could arise only in

bankruptcy cases.” See Allard, 419 B.R. at 27 (internal quotation marks and citation omitted).

III. Standards governing Defendant’s motion to dismiss

        Defendant brings the Motion under Rule 12(b)(6) of the Federal Rules of Civil Procedure,

arguing that the Agency’s complaint fails to state a claim upon which relief can be granted. Rule

12(b)(6) applies in this adversary proceeding under Federal Rule of Bankruptcy Procedure 7012.

        A motion under Rule 12(b)(6) tests the “sufficiency of [a] complaint.” Conley v. Gibson,

355 U.S. 41, 45 (1957). A court must examine the plaintiff’s allegations and determine whether,

as a matter of law, “the plaintiff is entitled to legal relief even if everything alleged in the

complaint is true.” Mayer v. Mylod, 988 F.2d 635, 638 (6th Cir. 1993). “[A] court considering a

motion to dismiss under Rule 12(b)(6) ‘must accept all well-pleaded factual allegations of the

complaint as true and construe the complaint in the light most favorable to the plaintiff.’”

Benzon v. Morgan Stanley Distribs., Inc., 420 F.3d 598, 605 (6th Cir. 2005) (quoting Inge v.

Rock Fin. Corp., 281 F.3d 613, 619 (6th Cir. 2002)).

        A plaintiff must provide “more than labels and conclusions . . . . Factual allegations must

be enough to raise a right to relief above the speculative level.” Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555-56 (2007) (citations omitted). “Threadbare recitals of the elements of a cause

of action, supported by mere conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S.


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   15-05123-tjt     Doc 23     Filed 03/25/16       Entered 03/25/16 16:29:58          Page 3 of 24
662, 678 (2009). “[O]nly a complaint that states a plausible claim for relief survives a motion to

dismiss.” Id. at 679.

       In short, “a complaint must contain (1) ‘enough facts to state a claim to relief that is

plausible,’ (2) more than ‘a formulaic recitation of a cause of action’s elements,’ and (3)

allegations that suggest a ‘right to relief above a speculative level.’” Tackett v. M&G Polymers,

USA, LLC, 561 F.3d 478, 488 (6th Cir. 2009) (quoting Twombly, 550 U.S. at 545).

IV. Background

       Defendant filed his Chapter 13 bankruptcy petition on July 23, 2015. On November 16,

2015, the Agency filed this adversary proceeding. In the Complaint, the Agency alleges that for

the weeks ending between January 8, 2011 through March 26, 2011, Defendant falsely and

fraudulently certified that he was not employed, and thereby collected $4,344.00 in

unemployment benefits for which he was not eligible under Michigan law.

       Under Michigan law, when a claimant seeking unemployment benefits “makes a false

statement or representation knowing it to be false, or knowingly and willfully with intent to

defraud fails to disclose a material fact, to obtain or increase a benefit,” the Agency is entitled to

collect restitution for any overpayment, plus what the Agency refers to as a “fraud penalty.” See

Mich. Comp. Laws § 421.54(b). In cases where a claimant fraudulently obtains benefits of $500

or more, the fraud penalty is equal to four times the amount of the overpayment. Mich. Comp.

Laws § 421.54(b)(ii). In this case, after the Agency discovered Defendant’s alleged fraud in

October 2011, it assessed a penalty of $16,669.00. Before filing bankruptcy, Defendant repaid

$7,666.00 to the Agency. The Agency alleges that:

               Defendant is . . . indebted to the Agency in a non-dischargeable


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  15-05123-tjt      Doc 23     Filed 03/25/16      Entered 03/25/16 16:29:58         Page 4 of 24
                  debt in the amount of: $4,344.00 in fraudulent overpaid benefits,
                  $16,669.00 in statutory penalties, and $1,491.68 in interest, but less
                  $7,666.00 already collected, for a total debt of $14,838.68.1

Defendant alleged in his Motion that the Agency applied the $7,666.00 collected from him first

to the restitution principal and interest, so that the debt remaining is “unpaid interest and

penalties, or just the penalties.”2 During the hearing on the Motion, Defendant’s attorney stated

that the unpaid debt amount may include unpaid interest in addition to the penalty. In any event,

it is undisputed that the unpaid debt includes at least some part of the fraud penalty.

V. Discussion

        The Agency’s position is that the entire debt, including the fraud penalty, is

nondischargeable under 11 U.S.C. § 523(a)(2)(A). Defendant contends that § 523(a)(2) does not

apply to the fraud penalty, because it is covered by § 523(a)(7).

        A. Section 523(a)(2) and the Cohen case

        In relevant part, § 523(a)(2) applies to debts for “money, property, [or] services . . . to the

extent obtained, by . . . false pretenses, a false representation, or actual fraud.” 11 U.S.C.

§ 523(a)(2)(A). Such debts are nondischargeable not only in Chapter 7 cases, but also in Chapter

13 cases. See 11 U.S.C. § 1328(a)(2) (listing specific debts described in § 523(a) that are

nondischargeable in Chapter 13, including § 523(a)(2) debts); see also D&M Props., LLP v.

Rosser (In re Rosser), No. 08-11146, Adv. P. No. 08-1075, 2008 WL 3992780 (Bankr. E.D.

Tenn. Aug. 25, 2008) (“Since BAPCPA, . . . § 1328 additionally excepts from discharge those

debts of the kind specified in § 523(a) . . . (2).”).


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            Compl. (Docket # 1) at 5, ¶ 21.
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            Def’s Mot. to Dismiss (Docket # 4) at 2.

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   15-05123-tjt       Doc 23     Filed 03/25/16        Entered 03/25/16 16:29:58     Page 5 of 24
        The United States Supreme Court held in Cohen v. de la Cruz, 523 U.S. 213, 219 (1998)

that the debts covered by § 523(a)(2) are not limited to the “value of the money, property, or

services received by the debtor” through fraud. Instead, the provision renders nondischargeable

“any liability arising from money, property, etc., that is fraudulently obtained, including treble

damages, attorney’s fees, and other relief that may exceed the value obtained by the debtor.” Id.

at 223 (emphasis added) (citations omitted). Under Cohen, all debts arising from fraud, whether

they are “restitutionary,” “compensatory,” or “punitive” in nature, are nondischargeable under

§ 523(a)(2). See 523 U.S. at 222 (quoted in section V.C.1 of this opinion, below); see also

Lowry v. Nicodemus (In re Nicodemus), 497 B.R. 852, 858, 859 (B.A.P. 6th Cir. 2013) (“A

critical point made by the Supreme Court in Cohen is that § 523(A)(2)(A) prevents discharge of

‘any debt’ as long as the debt sought to be discharged is assessed ‘on account of the fraud.’” And

such debts include “even compensatory, punitive, or statutory liability.”).

        Cohen involved a landlord-debtor who had overcharged his tenants in violation of a rent

control ordinance in Hoboken, New Jersey. Cohen, 523 U.S. at 215. The bankruptcy court

awarded the tenants the overpaid rent, plus attorney fees, court costs, and treble damages under a

New Jersey consumer protection statute, and held that the entire judgment was nondischargeable

under § 523(a)(2). Id. at 215-16. The Supreme Court ultimately affirmed the bankruptcy court’s

decision, finding that the “most straightforward reading” of § 523(a)(2) “is that it prevents

discharge of ‘any debt’ respecting ‘money, property, services, or credit’ that the debtor has

fraudulently obtained.’” Id. at 218 (emphasis added) (citation omitted). The Supreme Court

rejected the imposition of a “restitutionary ceiling” on fraud debts under § 523(a)(2), concluding

that:


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   15-05123-tjt    Doc 23     Filed 03/25/16      Entered 03/25/16 16:29:58        Page 6 of 24
               [T]he text of § 523(a)(2)(A), the meaning of parallel provisions in
               the statute, the historical pedigree of the fraud exception, and the
               general policy underlying the exceptions to discharge all support
               our conclusion that “any debt . . . for money, property, services, or .
               . . credit, to the extent obtained by” fraud encompasses any liability
               arising from money, property, etc., that is fraudulently obtained,
               including treble damages, attorney’s fees, and other relief that may
               exceed the value obtained by the debtor.

Id. at 219, 223.

       B. Section 523(a)(7)

       Section 523(a)(7) covers debts for a “fine, penalty, or forfeiture payable to and for the

benefit of a governmental unit, [that is] not compensation for actual pecuniary loss,” other than

certain specified tax penalties. 11 U.S.C. § 523(a)(7). These debts are excepted from discharge

in a Chapter 7 case. But such debts are not excepted from discharge in a Chapter 13 case, except

in the unusual case of a debtor who fails to make all the payments required by a confirmed plan

and obtains a more limited discharge, known as a “hardship discharge,” under 11 U.S.C.

§ 1328(b). See 11 U.S.C. §§ 1328(a)(2) and 1328(c)(2).

       C. The Court’s conclusions

       Defendant does not concede that he committed fraud, or that he actually owes the Agency

the statutory fraud penalty at issue. But for purposes of ruling on Defendant’s Motion, the Court

will assume that Defendant does owe the debt, as the Agency alleges. The Court must reject

Defendant’s legal argument, that the fraud penalty cannot be deemed a debt for fraud covered by

§ 523(a)(2)(A). This ruling is compelled by Cohen. The Court therefore also must reject

Defendant’s argument that the fraud penalty cannot be deemed nondischargeable in his Chapter

13 case under 11 U.S.C. § 1328(a)(2). The Court makes these conclusions even though the fraud



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  15-05123-tjt     Doc 23     Filed 03/25/16     Entered 03/25/16 16:29:58          Page 7 of 24
penalty is also a debt covered by § 523(a)(7), as a noncompensatory penalty payable to and for

the benefit of a governmental unit. Defendant’s various arguments are unavailing, for the

reasons the Court will explain below.

       1. Cohen’s reference to § 523(a)(7)

       First, the Court rejects Defendant’s argument that the holding in Cohen, about the broad

scope of § 523(a)(2), does not apply to debts covered by § 523(a)(7). Defendant relies on the

following passage in Cohen:

               If, as petitioner contends, Congress wished to limit the exception
               [in § 523(a)(2)] to that portion of the debtor’s liability representing
               a restitutionary—as opposed to a compensatory or
               punitive—recovery for fraud, one would expect Congress to have
               made unmistakably clear its intent to distinguish among theories of
               recovery in this manner. See, e.g., § 523(a)(7) (barring discharge
               of debts “for a fine, penalty, or forfeiture payable to . . . a
               governmental unit,” but only if the debt “is not compensation for
               actual pecuniary loss”).

Cohen, 523 U.S. at 222.

       Defendant argues that this passage shows the Supreme Court’s intent to carve out

§ 523(a)(7) debts — such as noncompensatory penalties owed to governmental agencies — from

the reach of § 523(a)(2), even if those penalties arise from fraud. But this passage in Cohen does

not say or imply that. Rather, it merely points out the way in which § 523(a)(2) does not have as

limited a scope as § 523(a)(7). The Court cited § 523(a)(7) as proof that Congress could

distinguish in § 523(a)’s subsections between types of debt — restitutionary, compensatory, and

punitive — and make some types nondischargeable and other types dischargeable when it chose

to do so. Congress chose to make such a distinction in § 523(a)(7), but it did not do so in

§ 523(a)(2). The above passage from Cohen simply is meant to support the Supreme Court’s


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  15-05123-tjt     Doc 23     Filed 03/25/16      Entered 03/25/16 16:29:58         Page 8 of 24
conclusion that § 523(a)(2) covers not only restitutionary debt, but also compensatory and

punitive debt — i.e., “‘any debt’ respecting ‘money, property, services, . . . or credit’ that the

debtor has fraudulently obtained.” Id. at 218 (emphasis added)(citations omitted)(quoting 11

U.S.C. § 523(a)(2)).

          One would expect that, had the Supreme Court meant in Cohen to exclude punitive debts,

like statutory penalties — or any type of debt arising from fraud — from the reach of § 523(a)(2),

the Court would have said so explicitly. But it did not. Nothing in Cohen suggests that any type

of fraud debt is excluded from coverage under § 523(a)(2), whether it is covered by § 523(a)(7)

or not.

          2. Defendant’s effort to distinguish Cohen

          Defendant argues that Cohen is distinguishable from this case, because the debts owed in

Cohen were owed to private parties rather than to a governmental unit. This is not a meaningful

distinction. The Supreme Court’s reasoning in Cohen about the broad scope of § 523(a)(2) is

based on the text of § 523(a)(2), which does not distinguish between private and governmental

creditors, and the fact that the “Bankruptcy Code has long prohibited debtors from discharging

liabilities incurred on account of their fraud, embodying a basic policy animating the Code of

affording relief only to an ‘honest but unfortunate debtor.’” Cohen, 523 U.S. at 217 (quoting

Grogan v. Garner, 498 U.S. 279, 287 (1991)). The Supreme Court’s reasoning applies with

equal force to fraud debts owed to private parties and fraud debts owed to governmental units.

And Cohen gives no indication that any part of fraud debts owed to governmental units are

excluded from the reach of § 523(a)(2).

          In sum, this Court is bound to follow Cohen, and apply it to the Agency’s § 523(a)(2)


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  15-05123-tjt       Doc 23     Filed 03/25/16    Entered 03/25/16 16:29:58         Page 9 of 24
claim in this case.

       3. The Supreme Court’s decisions in the Kelly and Davenport cases

       Defendant argues that other Supreme Court cases show that debts covered by § 523(a)(7)

are dischargeable in Chapter 13, even if they arise from fraud. But that is not correct.

       Defendant cites Kelly v. Robinson, 479 U.S. 36 (1986) and Pennsylvania Dep’t of Pub.

Welfare v. Davenport, 495 U.S. 552 (1990) for the proposition that § 523(a)(7) covers all

noncompensatory, non-tax debts owed to governmental agencies, including those arising from

fraud. By its plain language, § 523(a)(7) applies to the fraud penalty at issue in this case, and

Kelly and Davenport support this conclusion. See Kelly, 479 U.S. at 51; Davenport, 495 U.S. at

562. But these cases do not establish that § 523(a)(2) does not also apply, particularly in light of

Cohen, which was decided well after Kelly and Davenport.

       In Kelly, the Supreme Court held that criminal restitution ordered because of welfare

fraud is nondischargeable under § 523(a)(7) in a Chapter 7 case. 479 U.S. at 38-39, 51-52. The

Court concluded that neither the phrase, “to and for the benefit of a governmental unit,” nor the

phrase “not compensation for actual pecuniary loss” excludes criminal restitution from coverage

under § 523(a)(7).

       The Supreme Court in Kelly did not mention or discuss § 523(a)(2), except to note the

district court’s finding that the creditor failed to object to discharge of the debt on § 523(a)(2)

grounds within the deadline applicable to claims listed in 11 U.S.C. § 523(c). See Kelly, 479

U.S. at 42, nn.3 & 4. (As discussed in more detail later in this opinion, debts covered by

§ 523(a)(7) are not subject to the filing deadline that applies to § 523(a) debts of the type listed in

§ 523(c)).


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  15-05123-tjt        Doc 23   Filed 03/25/16     Entered 03/25/16 16:29:58         Page 10 of 24
        In Davenport, another pre-Cohen case, the Supreme Court held that criminal restitution

ordered because of welfare fraud could be discharged in a Chapter 13 case. 495 U.S. at 555. In

that case, the Supreme Court decided an issue it avoided in Kelly: whether criminal restitution

falls within the definition of a “debt” in 11 U.S.C. § 101 (if not, it could never be discharged in

bankruptcy).3 Id. at 557. The Supreme Court concluded that the criminal restitution was such a

“debt.” The Court also reaffirmed its holding in Kelly that criminal restitution debts, as well as

debts for “civil fines and penalties,” are covered by § 523(a)(7). Id. at 562. Finally, the Court

concluded that, because the Chapter 13 discharge provision, 11 U.S.C. § 1328(a), did not except

§ 523(a)(7) debts from discharge, the criminal restitution debt could be discharged in that

Chapter 13 case. Davenport, 495 U.S. at 563-64.

        But the Supreme Court did not mention § 523(a)(2) in Davenport. The creditor

apparently did not raise § 523(a)(2) in that case. But it is clear that if the creditor had raised a

§ 523(a)(2) objection in Davenport, it would not have made a difference in the outcome of that

case. This is because at that time (1990), neither § 523(a)(2) debts nor § 523(a)(7) debts were

excepted from discharge in Chapter 13. See 11 U.S.C. § 1328(a) (1988).4 It was not until 2005

that Congress amended § 1328(a) to except § 523(a)(2) debts from discharge in Chapter 13 cases.

This was long after Davenport was decided. See Bankruptcy Abuse Prevention and Consumer

Protection Act of 2005, Pub. L. No. 108-9, § 314, 119 Stat. 23 (adding § 523(a)(2) debts to the

list of debts that are nondischargeable in Chapter 13).


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          The Supreme Court avoided this issue in Kelly (a Chapter 7 case) by holding that, even if it was
a “debt,” the criminal restitution was nondischargeable under § 523(a)(7). Kelly, 479 U.S. at 50.
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          Available at http://loc.heinonline.org/loc/Page?handle=hein.uscode/usc1988004&id=37&
collection=journals&index=uscode/usck#249, pp. 213-14.

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  15-05123-tjt     Doc 23      Filed 03/25/16      Entered 03/25/16 16:29:58           Page 11 of 24
        For these reasons, Davenport cannot be read as implying that § 523(a)(2) did not, or

could not, apply to the criminal restitution debt at issue in that case, in addition to § 523(a)(7).

Kelly and Davenport merely tend to confirm that the fraud penalty at issue in this case is covered

by § 523(a)(7). They do not establish that the fraud penalty also is not covered by § 523(a)(2).

        4. The history of amendments to § 1328(a)

        Defendant also focuses on legislative changes to 11 U.S.C. § 1328(a), the Chapter 13

discharge provision, after the Supreme Court's decision in Davenport. There were three changes.

First, in 1990 Congress reacted to Davenport by enacting § 1328(a)(3), which made criminal

restitution debts nondischargeable in Chapter 13. See Hardenberg v. Va. Dep’t of Motor

Vehicles (In re Hardenberg), 42 F.3d 986, 992 (6th Cir. 1994) (“[S]ubsequent to the Davenport

decision, Congress enacted a bill to amend section 1328(a), specifically exempting restitution

orders from discharge in Chapter 13 bankruptcies and thereby superseding the Court’s holding in

Davenport.”); see also Criminal Victims Protection Act of 1990, Pub. L. No. 101-581, § 3, 104

Stat. 2865.

        Second, in 1994 Congress amended § 1328(a)(3) to also except criminal fines from

discharge in Chapter 13. See Bankruptcy Reform Act of 1994, Pub. L. No. 103-394, § 302, 108

Stat. 4106 (“Section 1328(a)(3) of title 11, United States Code, is amended by inserting ‘, or a

criminal fine,’ after ‘restitution.’”).

        Third, in 2005 Congress amended § 1328(a) to except from discharge in Chapter 13 all

§ 523(a)(2) debts, as well as debts listed in several other subsections of § 523(a), but not

§ 523(a)(7) debts. See Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, Pub.

L. No. 108-9, § 314, 119 Stat. 23.


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  15-05123-tjt      Doc 23      Filed 03/25/16    Entered 03/25/16 16:29:58         Page 12 of 24
         Defendant argues that this statutory history of § 1328(a) — specifically, Congress’s

failure to explicitly list governmental civil fraud penalties as nondischargeable in Chapter 13 like

Congress did for criminal restitution in 1990 and criminal fines in 1994, and the fact that

§ 523(a)(7) debts were not added to the list of nondischargeable debts in § 1328(a) in 2005 —

reflects Congressional intent to keep civil governmental penalties dischargeable in Chapter 13,

even if those penalties arise from fraud.

         The Court finds Defendant’s view of the statutory history unpersuasive, and views the

history quite differently. It is true that Congress did not specifically list civil fraud penalties

owed to governmental units as nondischargeable in Chapter 13, when it amended § 1328(a) in

1990, 1994, or 2005. But instead, in 2005 Congress made all debts arising from fraud

nondischargeable in Chapter 13, by adding § 523(a)(2) to the list of debts excepted from

discharge in § 1328(a). And Congress did this some seven years after Cohen was decided (in

1998).

         This is very telling, because the Court must presume that Congress was aware of the very

broad scope Cohen had given to § 523(a)(2), when Congress amended § 1328(a) in 2005. As the

Supreme Court has held:

                Congress is presumed to be aware of an administrative or judicial
                interpretation of a statute and to adopt that interpretation when it
                re-enacts a statute without change[.] So too, where, . . . Congress
                adopts a new law incorporating sections of a prior law, Congress
                normally can be presumed to have had knowledge of the
                interpretation given to the incorporated law, at least insofar as it
                affects the new statute.

Lorillard v. Pons, 434 U.S. 575, 580-81 (2008)(citations omitted); see also Shapiro v. United

States, 335 U.S. 1, 16 (1948) (citations omitted) ("In adopting the language used in the earlier


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  15-05123-tjt     Doc 23      Filed 03/25/16      Entered 03/25/16 16:29:58          Page 13 of 24
act, Congress ‘must be considered to have adopted also the construction given by this Court to

such language, and made it a part of the enactment.’”); see generally Cannon v. Univ. of

Chicago, 441 U.S. 677, 696-97 (1979) (“It is always appropriate to assume that our elected

representatives, like other citizens, know the law[.]”).

        In 2005, Congress knew that because of Cohen, all debts for fraud, including debts that

are compensatory in nature as well as debts that are punitive in nature, are nondischargeable

under § 523(a)(2). Knowing this, Congress chose in 2005 to make all § 523(a)(2) debts

nondischargeable in Chapter 13.

        This history shows that Congress intended that all debts for fraud, including civil fraud

penalties, be non-dischargeable in Chapter 13.

        5. Defendant’s other arguments

        The Court rejects Defendant’s remaining arguments. Defendant argues that holding the

fraud penalty nondischargeable under § 523(a)(2) creates “an absurd result;”5 renders § 523(a)(7)

superfluous; ignores the differences between Chapter 7 and Chapter 13; and violates the principle

that exceptions to discharge must be strictly construed in favor of the debtor. And Defendant

argues that other courts have characterized similar governmental fraud penalties as § 523(a)(7)

debts and not as § 523(a)(2) debts.6 Finally, Defendant argues that § 523(a)(7) is more specific

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            Def’s Mot. to Dismiss (Docket # 4) at 12.
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           With the exception of Judge Randon’s recent decision in the Andrews case, discussed in the
next section of this opinion, none of the cases cited by Defendant address whether § 523(a)(2) could also
apply to the government debts at issue. See United States v. Horras (In re Horras), 443 B.R. 159 (B.A.P.
8th Cir. 2011) (Chapter 7 proceeding; creditor alleged Medicare/Medicaid restitution was
nondischargeable under § 523(a)(2) and fraud penalties were nondischargeable under § 523(a)(7)); In re
Adamic, 291 B.R. 175, 180 (Bankr. D. Colo. 2003) (Pre-BAPCPA Chapter 13 case; court denied debtor’s
motion for sanctions and allowed recoupment by Colorado unemployment agency, noting in dicta that
“debts for overpayment of unemployment compensation benefits . . . may be excepted from a Chapter 7

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  15-05123-tjt       Doc 23     Filed 03/25/16      Entered 03/25/16 16:29:58         Page 14 of 24
as to the statutory fraud penalty than § 523(a)(2).

        To a large extent, Defendant’s arguments reflect an assumption that more than one

subsection of § 523(a) can never apply to the same debt. As discussed below, that assumption is

not correct.

        a. There is no statutory conflict, or “absurd result” under the Court’s ruling today.

        Defendant contends that § 523(a)(7) makes the statutory fraud penalty in this case

“dischargeable” while under the Agency’s view § 523(a)(2) makes the same penalty

nondischargeable, and that this is an “absurd result.” But Defendant’s characterization of the

effect of § 523(a)(7) is not accurate. Section 523(a)(7) does not affirmatively make the penalty

“dischargeable” in Chapter 13; rather, it simply does not make the penalty nondischargeable.

This is a technical distinction, but an important one in this context, and it is clear from the

language of § 1328(a):

                (a) . . . as soon as practicable after completion by the debtor of all
                payments under the plan, . . . the court shall grant the debtor a
                discharge of all debts provided for by the plan or disallowed under
                section 502 of this title, except any debt—
                ....


discharge under 11 U.S.C. § 523(a)(2)(A), and monetary penalties may be excepted under 11 U.S.C. §
523(a)(7).”); Colo. Div. of Cent. Servs. v. O’Brien (In re O’Brien), 110 B.R. 27, 31 (Bankr. D. Colo.
1990) (Pre-Cohen Chapter 7 case; court held that restitution owed to unemployment agency was
nondischargeable under § 523(a)(2) and statutory penalty was nondischargeable under § 523(a)(7), but
that “collection fee” was dischargeable); Ill. Dep’t of Pub. Aid v. Hatcher (In re Hatcher), 111 B.R. 696
(Bankr. D. Ill. 1990) (Pre-Cohen Chapter 7 case; court found unemployment overpayments
nondischargeable under § 523(a)(2)(A) and penalties nondischargeable under § 523(a)(7)).

         Defendant also cites a case from the Western District of Michigan bankruptcy court in which the
Agency itself relied on § 523(a)(7) to argue that the fraud penalties were nondischargeable. See Compl.
at 5, ¶ 29, No. 14-01038, Adv. Pro. No. 14-80126 (filed May 27, 2014) (Docket # 1). However, that case
was a Chapter 7 case, and was resolved by a consent judgment entered on March 27, 2015, which states
that the debt for the restitution and penalties “is nondischargeable under 11 U.S.C. § 523(a)(2)(A) and
§ 523(a)(7).” See Consent Judgment, Adv. Pro. No. 14-80126 (Docket # 18).

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  15-05123-tjt     Doc 23      Filed 03/25/16       Entered 03/25/16 16:29:58          Page 15 of 24
               (2) of the kind specified in . . . paragraph (1)(B), (1)(C), (2), (3), (4), (5),
               (8), or (9) of section 523(a) . . . .

11 U.S.C. § 1328(a). Section 1328(a)(2) is clearly a list of nondischargeable debts. If a given

debt meets the definition of one of the subsections of § 523(a) listed in § 1328(a)(2), it is

nondischargeable, regardless of whether the debt also meets the definition of another subsection

which is not listed.

       Thus, a ruling that both § 523(a)(2) and § 523(a)(7) apply to the statutory fraud penalty at

issue in this case does not create an absurd result, or any statutory conflict. The penalty is not

simultaneously “dischargeable” and nondischargeable. The fact that § 523(a)(7) does not make

the statutory penalty nondischargeable in Chapter 13 does not mean or imply that § 523(a)(2)

cannot make the penalty nondischargeable in Chapter 13. The two provisions function

independently of one another.

       Defendant makes a similar “absurd result” argument, relating to the procedure for seeking

a determination of dischargeability. Defendant argues that § 523(a)(2) and § 523(a)(7) cannot

both apply to a given debt because § 523(c) applies to an exception to discharge under

§ 523(a)(2), but not to one under § 523(a)(7).

       Section 523(c) provides, in pertinent part:

               (c)(1) . . . the debtor shall be discharged from a debt of a kind
               specified in paragraph (2), (4), or (6) of subsection (a) of this
               section, unless, on request of the creditor to whom such debt is
               owed, and after notice and a hearing, the court determines such
               debt to be excepted from discharge under paragraph (2), (4), or (6),
               as the case may be, of subsection (a) of this section.

11 U.S.C. § 523(c). Federal Rule of Bankruptcy Procedure 7001(6) requires that the creditor’s



                                                  16



  15-05123-tjt     Doc 23     Filed 03/25/16      Entered 03/25/16 16:29:58           Page 16 of 24
request must be filed as an adversary proceeding, and Federal Rule of Bankruptcy Procedure

4007(c) requires that the adversary proceeding be filed “no later than 60 days after the first date

set for the meeting of creditors under § 341(a),” unless the court grants an extension of time.

Section 523(c) and the time limit of Rule 4007(c) do not apply to an action to determine

dischargeability under § 523(a)(7).

        Defendant's “absurd result” argument is without merit. Government agencies, like any

creditor, have the choice of relying on any one or more of the subsections of § 523(a) to object to

the discharge of a particular debt. To the extent the agency chooses to rely on § 523(a)(2) as to

all or part of the debt, it must file an adversary proceeding within the time limit applicable to

such a claim, because of § 523(c) and Federal Rule of Bankruptcy Procedure 4007(a). To the

extent the agency relies on § 523(a)(7), the time limit under § 523(c) does not apply. There is

nothing “absurd” about this. And in a Chapter 7 case, in which both §§ 523(a)(2) and 523(a)(7)

apply, the agency can join in a single adversary proceeding both nondischargeability theories.

        b. The Court’s ruling does not make either § 523(a)(2) or § 523(a)(7) “superfluous.”

        Nor does the Court’s holding today render § 523(a)(7) superfluous, as Defendant argues.7

That section applies to all non-compensatory penalties payable to and for the benefit of a

governmental unit (except for certain tax penalties), whether such penalties arise from fraud or

not. In that sense, § 523(a)(7) is broader in its operation than § 523(a)(2), because § 523(a)(7)

does not require fraud. Section 523(a)(2), on the other hand, applies to both compensatory and

non-compensatory penalties, but requires that they be based on fraud. In covering even


        7
           As the Supreme Court noted in the Davenport case, “[o]ur cases express a deep reluctance to
interpret a statutory provision so as to render superfluous other provisions in the same enactment.”
Davenport, 495 U.S. at 562 (citation omitted).

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  15-05123-tjt     Doc 23      Filed 03/25/16     Entered 03/25/16 16:29:58          Page 17 of 24
compensatory-type penalties, § 523(a)(2) is in that sense broader in its operation than

§ 523(a)(7).

         There is some overlap in the coverage of the two sections — both sections cover non-

compensatory penalties payable to and for the benefit of a governmental unit that arise from

fraud.

         But the existence of such overlap is not an “absurd” result, and it does not make either

section superfluous. Rather, according to the Supreme Court, this type of statutory overlap is not

unusual. The Supreme Court dealt with such a case of statutory overlap in Connecticut Nat’l.

Bank v. Germain, 503 U.S. 249 (1992), and the Court’s reasoning applies here:

                Contrary to Germain’s contention, we need not choose between
                giving effect on the one hand to [28 U.S.C.] § 1291 and on the
                other to [28 U.S.C.] § 158(d), for the statutes do not pose an either-
                or proposition. Section 1291 confers jurisdiction over appeals from
                “final decisions of the district courts” acting in any capacity.
                Section 158(d), in contrast, confers jurisdiction over appeals from
                final decisions of the district courts when they act as bankruptcy
                appellate courts under § 158(a), and also confers jurisdiction over
                final decisions of the appellate panels in bankruptcy acting under §
                158(b). Sections 1291 and 158(d) do overlap, therefore, but
                each section confers jurisdiction over cases that the other
                section does not reach.

                Redundancies across statutes are not unusual events in
                drafting, and so long as there is no “positive repugnancy”
                between two laws, Wood v. United States, 16 Pet. 342, 363, 10
                L.Ed. 987 (1842), a court must give effect to both. Because
                giving effect to both §§ 1291 and 158(d) would not render one or
                the other wholly superfluous, we do not have to read § 158(d) as
                precluding courts of appeals, by negative implication, from
                exercising jurisdiction under § 1291 over district courts sitting in
                bankruptcy. We similarly do not have to read § 158(d) as
                precluding jurisdiction under § 1292. While courts should
                disfavor interpretations of statutes that render language
                superfluous, in this case that canon does not apply.


                                                 18



  15-05123-tjt     Doc 23     Filed 03/25/16     Entered 03/25/16 16:29:58         Page 18 of 24
503 U.S. at 253 (emphasis added).

       The existence of the statutory overlap in this case is the result of two things that this

Court simply is not free to ignore: (1) the broad reading the Supreme Court gave to § 523(a)(2) in

its 1998 Cohen decision; and (2) the unambiguous language of § 523(a)(7). The Court’s decision

today is compelled by these two things.

       In support of his argument about superfluousness, Defendant cites Kawaauhau v. Geiger,

523 U.S. 57 (1998), and Berkson v. Gulevsky (In re Gulevsky), 362 F.3d 961 (7th Cir. 2004). In

Geiger, the Supreme Court held that § 523(a)(6), which excepts from discharge debts for “willful

and malicious injury” by the debtor, does not apply to a debt arising from a tort when the debtor

did not intend to cause injury. 523 U.S. at 61-62. The Supreme Court reasoned that to interpret

§ 523(a)(6) otherwise would render wholly superfluous § 523(a)(9), which makes certain tort-

based debts arising from a debtor’s intoxication nondischargeable, but does not require proof of

intent to cause injury. See Geiger, 523 U.S. at 62. Geiger is distinguishable — here, this Court

is not interpreting § 523(a)(2) any more broadly than the Supreme Court held it must be

interpreted in Cohen. Moreover, under this Court’s holding today, neither § 523(a)(2) nor

§ 523(a)(7) is rendered superfluous, as explained above.

       In Gulevsky, the Seventh Circuit Court of Appeals held that because oral

misrepresentations regarding a debtor’s financial condition were not “actionable” under any part

of § 523(a)(2), they could not be actionable under § 523(a)(6). 362 F.3d at 963-64. The court

reasoned that allowing a creditor to proceed under § 523(a)(6) under such circumstances would

“render the writing requirement of § 523(a)(2)(B) superfluous.” Id. at 963. But the same

problem does not exist in this case, where the Court holds that both § 523(a)(2)(A) and


                                                 19



  15-05123-tjt    Doc 23     Filed 03/25/16      Entered 03/25/16 16:29:58         Page 19 of 24
§ 523(a)(7) cover the fraud penalty at issue.

        And to the extent Gulevsky is inconsistent with the Court’s ruling in this case, the Court

finds Gulevsky unpersuasive and declines to follow it. Other courts have held, in conflict with

Gulevsky, that a creditor whose § 523(a)(2) claim fails may still assert a claim under § 523(a)(6).8

The Court finds these cases more persuasive than Gulevsky.

        c. There is no rule that more than one subsection of § 523(a) can never apply to the
           same debt.

        In any event, Geiger and Gulevsky do not stand for a broad general rule that more than

one subsection of § 523(a) can never apply to the same debt. Nor is there any language in

§ 523(a), or elsewhere in the Bankruptcy Code, that suggests such a broad general rule. And in

the Kelly v. Robinson case, discussed above, the Supreme Court clearly indicated that there is no

such broad general rule.

        In Kelly, the Supreme Court noted that not only was the criminal fraud restitution debt in

that case nondischargeable under § 523(a)(7)(as the Court held), but also such debt could have

been found nondischargeable under 11 U.S.C. § 523(a)(4), as a debt for “larceny,”9 if a



        8
           See, e.g., Purser v. Scarbrough (In re Scarbrough), 516 B.R. 897, 914 (Bankr. W.D. Tex. 2014)
(citations omitted) (“Although § 523(a)(2)(A) is the usual vehicle for seeking nondischargeability of a
debt based on fraud, it is possible to assert a claim for willful and malicious fraud under § 523(a)(6).”);
Schubert Osterrieder & Nickelson PLLC v. Bain (In re Bain), 436 B.R. 918, 924 (Bankr. S.D. Texas
2010) (holding that “although Plaintiffs’ fraud claim [did] not state a claim under § 523(a)(2)(A), it [did]
state a claim under § 523(a)(6)”; and that “[a]llowing Plaintiffs’ state-law fraud claim to be asserted
under § 523(a)(6) would not render § 523(a)(2)(A) superfluous.”); 4 Collier on Bankruptcy ¶ 523.12[1],
at 523-91 (Alan N. Resnick & Henry J. Sommer, eds., 16th ed. 2015) (“Conduct which may give rise to a
nondischargeable debt under section 523(a)(6) may also be nondischargeable under other subsections of
section 523(a). For example, debts procured by fraud may be nondischargeable under section 523(a)(6)
as arising from conduct causing willful and malicious injury to an entity or property or an entity.”).
        9
           Under § 523(a)(4), a debt is nondischargeable if it is a debt “for fraud or defalcation while
acting in a fiduciary capacity, embezzlement, or larceny.”

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  15-05123-tjt      Doc 23      Filed 03/25/16       Entered 03/25/16 16:29:58           Page 20 of 24
nondischargeability claim under § 523(a)(4) had been timely made (which it was not). See Kelly

v. Robinson, 479 U.S. at 42, 42 nn.3, 4.10 While admittedly this is dictum, the Sixth Circuit

Court of Appeals has instructed that lower courts must follow Supreme Court dicta. See Baker v.

Ellmann, 791 F.3d 677, 682 (6th Cir. 2015).11 This dictum in Kelly v. Robinson clearly negates

any rule that the same debt can never be covered by more than one subsection of § 523(a).

        d. Defendant’s position ignores Congressional intent in the 2005 Bankruptcy Code
           amendments that narrowed the scope of the Chapter 13 discharge.

        The Court also rejects Defendant’s argument that, to find these fraud penalties

nondischargeable, “would do violence to the statutory scheme and differences between Chapter 7

and Chapter 13,” because “Congress has made the choice to allow the governmental fines and

penalties to be discharged in a Chapter 13.”12 Defendant’s argument reflects a view that is

outdated after the 2005 Bankruptcy Code amendments, by overlooking two important points

which the Court has already discussed. First, the Supreme Court declared in Cohen that “any

debt” arising from fraud qualifies as a § 523(a)(2) debt. Cohen v. de la Cruz, 523 U.S. 213, 218


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           The Agency, which is also the appellant in the pending appeal in the Andrews case, made this
point recently in the reply brief it filed in that appeal. (Appellant’s Reply Br. at 3, Mich. Unemployment
Ins. Agency v. Andrews (In re Andrews), No. 15-cv-136681 (E.D. Mich., filed March 8, 2016)(Docket
# 13).
        11
             In Baker, the Sixth Circuit stated:

                  [T]his court has explained that “[l]ower courts are obligated to follow
                  Supreme Court dicta, particularly where there is not substantial reason
                  for disregarding it, such as age or subsequent statements undermining its
                  rationale.” Am. Civil Liberties Union of Ky. v. McCreary Cnty., Ky., 607
                  F.3d 439, 447-48 (6th Cir. 2010) (citations and internal quotation marks
                  omitted).

791 F.3d at 682.
        12
             Def’s Mot. to Dismiss (Docket # 4) at 6, 10.

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  15-05123-tjt        Doc 23      Filed 03/25/16     Entered 03/25/16 16:29:58          Page 21 of 24
(1998). Second, after Cohen was decided, Congress amended Chapter 13 in 2005 to exclude all

§ 523(a)(2) debts from discharge. In this, Congress made clear its intent that all debts arising

from fraud be nondischargeable in Chapter 13.

       e. The Court’s ruling is not barred by the rule that exceptions to discharge are to
          be strictly construed against the creditor.

       Defendant appeals to the often-repeated rule that “exceptions to discharge are to be

strictly construed against the creditor.” See, e.g., Rembert v. AT&T Universal Card Servs., Inc.

(In re Rembert), 141 F.3d 277, 281 (6th Cir. 1998). But that rule does not resolve the issue in

this case. Whatever that rule means in other contexts, in the context of this case, it does not

mean that the Court may ignore Cohen or the fact that § 523(a)(2) debts are nondischargeable in

Chapter 13. If anything, one might argue that in Cohen the Supreme Court did not construe

§ 523(a)(2) strictly against the creditor. But even if that is so, it is water under the bridge — this

Court is bound to follow Cohen.

       f. The Court’s ruling is not barred by the canon that in interpreting statutes, a
          specific provision controls over a general provision on the same subject.

       Finally, the Court rejects Defendant’s argument that § 523(a)(7) is more specific with

respect to the fraud penalty at issue than § 523(a)(2). First, because the Court finds that both

provisions clearly apply, and that this creates no conflict and there is no ambiguity, it is

unnecessary to address this “specific versus general” argument any further. See Lamie v. U.S.

Trustee, 540 U.S. 526, 534 (2004) (“It is well established that ‘when the statute’s language is

plain, the sole function of the courts — at least where the disposition required by the text is not

absurd — is to enforce it according to its terms.’” (quoting Hartford Underwriters Ins. Co. v.

Union Planters Bank, N.A., 530 U.S. 1, 6 (2000)); POM Wonderful LLC v. Coca-Cola Co., 134


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  15-05123-tjt     Doc 23     Filed 03/25/16      Entered 03/25/16 16:29:58         Page 22 of 24
S. Ct. 2228, 2238 (2014) (citation omitted) (“When two statutes complement each other, it would

show disregard for the congressional design to hold that Congress nevertheless intended one

federal statute to preclude the operation of the other.”).

        Second, as is shown by the Court’s discussion in Section V.C.5.b above, about

Defendant’s superfluousness argument, neither § 523(a)(2) nor § 523(a)(7) is more specific than

the other in the context of this case. Rather, in different ways, each provision is broader in its

operation (and therefore also narrower) than the other. Cf. Maracich v. Spears, 133 S. Ct. 2191,

2203 (2013) (“This is not to say, as petitioners contend, that this is a straightforward application

of the specific . . . controlling the general . . . . As between the two exceptions at issue here, it is

not clear that one is always more specific than the other.”).

        6. The recent decision in the Andrews case

        As noted earlier, the Court's ruling in this case is contrary to the recent decision by Judge

Randon of this Court, in the case of Michigan Unemployment Ins. Agency v. Andrews (In re

Andrews), No. 15-46058, Adv. Pro. No. 15-04724, 2015 WL 5813418 (Bankr. E.D. Mich. Oct. 2,

2015). Counsel for Defendant, who also represented the defendant in the Andrews case, urges

the Court to follow Judge Randon’s decision, which is currently on appeal to the district court.

The Court is not bound by Judge Randon’s decision, of course, and does not find his reasoning in

Andrews persuasive. Among other things, this Court disagrees with Judge Randon’s reading of

Cohen v. de la Cruz, 523 U.S. 213 (1998), and his view of the import of the Supreme Court’s

citation to § 523(a)(7) therein. Compare Mich. Unemployment Ins. Agency v. Andrews, 2015 WL

5813418, at *4, with discussion in section V.C.1 of this opinion, above. The Court is persuaded

that its ruling in this case is correct, for all the reasons discussed in this opinion. So the Court


                                                   23



  15-05123-tjt     Doc 23      Filed 03/25/16      Entered 03/25/16 16:29:58          Page 23 of 24
respectfully disagrees with Judge Randon’s decision in Andrews.

VI. Conclusion

       For the reasons stated in this opinion, the Court will enter an order denying Defendant’s

Motion to Dismiss this adversary proceeding.


Signed on March 25, 2016                            /s/ Thomas J. Tucker
                                                    Thomas J. Tucker
                                                    United States Bankruptcy Judge




                                               24



  15-05123-tjt   Doc 23     Filed 03/25/16     Entered 03/25/16 16:29:58        Page 24 of 24
